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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION



BUBBLEGUM STUFF, LTD.,

        PLAINTIFF,
                                                    CASE NO. 1:23-CV-16562
V.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

        DEFENDANTS.




                                   EXHIBIT 1
        Case: 1:23-cv-16562 Document #: 11-1 Filed: 12/13/23 Page 2 of 2 PageID #:248

                                   BUBBLEGUM STUFF, LTD.
                                              V.
                             THE PARTNERSHIPS AND UNINCORPORATED
                             ASSOCIATIONS IDENTIFIED ON SCHEDULE A
EXHIBIT 1                                                            TRADEMARK REGISTRATION
